                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                     )       DOCKET NO. 3:05CR2-C
                                             )
               vs.                           )              ORDER
                                             )       FOR TRANSFER OF CUSTODY
(3) MAURO SOTO CHAVEZ                        )



       THIS MATTER is before the Court on the Government's motion, filed October 26,

2005, for the transfer of custody of Defendant.

       The Court has carefully reviewed the motion, and believes that good cause has been

shown to justify the temporary transfer of custody of Defendant from the United States Marshals

Service to Drug Enforcement Administration Task Force (DEA TF) Officer Cathy Bowles,

and/or another designated agent. The transfer shall be subject to the following conditions:

       (1)     The United States Marshals Service shall allow the transfer of custody of the

defendant to DEA TF Officer Cathy Bowles, and/or another designated agent, during the period

from 9:00 a.m. on October 26, 2005, through 7:00 p.m. on November 4, 2005. The defendant

shall be returned to the Mecklenburg County Jail no later than 7:00 p.m.

       (2)     Custody of the defendant may be given to DEA TF Officer Cathy Bowles, and/or

another designated agent, provided at least one other law enforcement agent is present when the

defendant is transported. The United States Marshals Service shall not turn over custody of the

defendant unless DEA TF Officer Cathy Bowles, and/or another designated agent is present.




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       (3)     When the defendant is picked up each morning at the Mecklenburg County Jail,

agents shall use the same security and restraints as used by the United States Marshals Service

when transporting a prisoner; i.e., the defendant shall be placed in handcuffs and leg shackles

whenever being transported.

       (4)     The only location that the defendant is to be transported to shall be the Bureau of

Immigration and Customs Enforcement Office in Charlotte, North Carolina. At no time should

the defendant be in any other location other than when being transported to and from the

Mecklenburg County Jail. There will be no exceptions to this provision without written motion

and a corresponding written order.

       The Clerk is directed to certify copies of this Order to the United States Marshals Service,

defense counsel and the United States Attorney's Office.

       SO ORDERED.




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                       Signed: October 26, 2005




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